
PER CURIAM.
John Mark Anderson appeals the summary denial of his motion filed pursuant to Florida Rule of Criminal Procedure 3.850. We reverse the trial court’s order because the trial court failed to address the issues raised in Anderson’s motion or to attach relevant portions of the record.
*63To support summary denial -without a hearing, a trial court must either state its rationale in its decision or attach those specific parts of the record that refute each claim presented in the motion. See Anderson v. State, 627 So.2d 1170, 1171 (Fla.1993); Hoffman v. State, 571 So.2d 449, 450 (Fla.1990). The trial court’s order failed to do either.
Accordingly, we reverse the trial court’s order and remand for reconsideration. If the trial court again concludes that summary denial is proper, it must set forth its rationale and attach any relevant portions of the record that conclusively show relief is not required.
Reversed and remanded.
BLUE, A.C.J., and WHATLEY and GREEN, JJ., concur.
